                                                               \

 Case: 4:18-cr-00828-RLW-NCC Doc. #: 2 Filed: 10/04/18 Page: 1 of 1 PageID #: 4



                                                                                       fl LED
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI                          OCT -4 2018.
                                    EASTERN DNISION                                 U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT OF MO
                                                                                          ST. LOUIS
 UNITED STATES OF AMERICA,                            )
                                                      )
                       Plaintiff,                     )
                                                      )
 VS.                                                  )     4:18CR828 RLW/NCC
                                                      )
 JEREMY WINGS,                                        )
                                                      )
                       Defendant.                     )

                                         INDICTMENT

                                          COUNT ONE

        The Grand Jury charges that:

        On or about October 1, 2018 in the City of St. Louis, withiIJ,Jhe Eastern District of

 Missouri,

                                       JEREMY WINGS,

 the Defendant herein, having been previously convicted of one or more crimes punishable by a

_term of imprisonment exceeding one year, did lmowingly possess a firearm, which traveled in
                                                                             _/




 interstate or foreign commerce during or prior to being in the Defendant's possession.

        In violation of Title 18, United States Code, Section 922(g)(l).

                                                             A TRUE BILL



                                                             FOREPERSON
 JEFFREY B. JENSEN
 United States Attorney



 PAUL J. D' AGROSA (#36966MO)
 Assistant United States Attorney
